Case 2:05-cr-20074-.]PI\/| Document 64 Filed 08/22/05 Page 1 of 2 Page'|D 751

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNI’I‘ED STATES OF AMERICA,
Plaintiff,
CR. NO. 05-20074-Ma

VS.

TAMMY LEWIS,
CURTIS SPRINGER,

V\-._/~._/-._u-._r~._r~_._,a~.._/-.._¢~.._u

Defendants.

 

OR.`DER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161{h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this 22°‘{ day of August, 2005.

JM/~W`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

